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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

BOTTA ANGELT, L.L.C.
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Attorneys for Defendant,

Borough of Emerson & Danielle DiPaola
(certain insured claims)

EMERSON REDEVELOPERS URBAN

RENEWAL, L.L.C., Civil Action No.: 2:20-cv-04728
(MCA-MAH)
Plaintiffs,
VS.
THE BOROUGH OF EMERSON NEW Civil Action

JERSEY, AND DANIELLE DIPAOLA,

Defendants.
AMENDED SCHEDULING GRDER

 

 

THIS MATTER having come before the Court for a telephonic status conference on
August 15, 2022; and for good cause shown:

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IT IS on 23 Fay of August 2022, ORDERED as follows:

|. The Pre-Trial Scheduling Order dated February 1, 2022 shall be amended as follows:

 

 

 
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a. Fact discovery shall remain open through January 31, 2023. No discovery is to be
issued or engaged in beyond that date, except upon application and for good cause
shown. Depositions of fact witnesses and individuals who will give lay opinion
testimony based on particular competence in an area {including but not limited to
treating physicians) are to be completed by January 31, 2023. No objections to
questions posed at depositions shall be made other than as to lack of foundation,
form or privilege. See Fed. R. Civ. P. 32(d)(3)(A). No instruction not to answer shall
be given unless a privilege is implicated.

b. All affirmative expert reports shall be delivered by February 28, 2023. Any such
report is to be in the form and content as required by Fed. R. Civ. P. 26(a)(2)(B).

¢. All responding expert reports shall be delivered by March 31, 2023. Any such report
shall be in the form and content as described above.

d. Expert discovery, including the depositions of any expert witnesses, shall be
completed on or before April 30. 2023.

e. There shall be a telephone status conference before the Undersigned on
4/5/2023 at 11:00 a.m. The parties will dial 1-888-684-8852 and access code 1456817# to join
the conference.

2. In all other respects, the Pre-Trial Scheduling Order dated February !, 2022 shall
remain in full force and effect.

SILLS CUMMIS & GROSS, P.C. LAW OFFICES OF RICHARD MALAGIERE

Attorneys for Plaintiffs Attorneys for Defendant,
Danielle DiPaola (uninsured claims)

 

By /s/ Stephen M. Klein, Esq. By /s/ Leonard E. Seaman, Esq.
Stephen M. Klein, Esq. Leonard E. Seaman, Esq.

BOTTA ANGELT, L.L.C.
Attorneys for Defendants

By /s/ Christopher C. Botta, Esq.
Christopher C, Botta, Esq.

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SO ORDERED:

 
 
 
    

H6n. Michael A-Hammer
United States Magistrate Judge

Dated: Augus , 2022

 

 
